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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                          May 25, 2022
                           UNITED STATES DISTRICT COURT
                                                                                       Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §    CRIMINAL ACTION NO. 7:19-cr-00522
                                                §    01, 03
RICARDO QUINTANILLA and                         §
ARTURO C. CUELLAR,                              §
                                                §
        Defendants.                             §


                                            ORDER


        Came on to be considered “Defendant’s Unopposed Motion for Continuance of Trial.”1 On

May 23, 2022, the Government filed a motion requesting a status hearing in the instant case.2

Therein, the Government represented that through discussions with counsel for Defendant

Quintanilla, the Government was informed that Defendant Quintanilla “recently suffered a health

event that may impede his ability to participate in trial in this matter should it commence on June

13, 2022.”3 The motion further indicated that Counsel for Defendant Quintanilla represented to the

Government that he intended to move for a continuance of the trial date.4 No motion was then

filed. On May 20, 2022, the Government again spoke with counsel for Defendant Quintanilla

where counsel again represented that he intended to move for a continuance of the trial date.5

Again, no motion was filed. On May 23, 2022, the Government again spoke with counsel for


1
  Dkt. No. 341.
2
  Dkt. No. 338.
3
  Id. at 1.
4
  Id.
5
  Id.


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Defendant and counsel represented that he would be filling a motion for continuance that day.6

Yet again, no motion was filed. The Government then filed the motion for a status conference to

discuss these issues.7

        The Court set a status conference for May 24, 2022, at 3:00 p.m.8 No motion for

continuance was filed before the conference. Instead, Defendant Quintanilla filed a “Supplemental

Brief to the Government’s Emergency Motion for Status Hearing” twenty-five minutes before the

conference was scheduled to begin.9 Therein counsel for Defendant Quintanilla informed the Court

that Defendant Quintanilla underwent a coronary artery bypass on April 15, 2022 and that

“Defendant Quintanilla has obtained two letters from medical providers regarding his medical

condition.”10 One of the letters was corrupt or improperly attached.11 The second letter was from

Defendant Quintanilla’s primary care physician and stated that “Mr. Ricardo Quintanilla has been

under my care for the past few years and recently had open heart surgery. Due to his current

condition I recommend patient to have low stress environment at work and at home to avoid any

complications to his health at least for the next 90 days.”12 Despite this representation the brief did

not request a continuance.

        At the status conference held on May 24, 2022, the Court specifically noted that no motion

for continuance had been filed as of that time. The Court further admonished counsel that it would

not entertain a late filed motion for continuance. The Court provided defense counsel an

opportunity to urge a motion for continuance at that hearing. Despite the issue of a continuance

being the topic of discussion at the status hearing, Counsel for Defendant Quintanilla failed to urge


6
  Id. at 2.
7
  Id.
8
  Dkt. No. 339.
9
  Dkt. No. 340.
10
   Id. at 1.
11
   Dkt. No. 340-1.
12
   Dkt. No. 340-2.


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an oral motion or even indicate that they would seek a continuance.13 Only after foregoing this

opportunity to request a continuance did counsel for Defendant Quintanilla file the instant motion.

The motion itself is cursory and it only reiterates what was before the Court at the status hearing.14

The same letters as the ones attached to the supplemental brief are attached to the instant motion

and again, only one from the primary care physician is able to be viewed.15

        For the reasons discussed at the Status Conference held on May 24, 2022, and after duly

considering said motion, the Court finds that the motion should be and is hereby DENIED. Jury

selection remains set for June 13, 2022, at 9:00 a.m. with trial to commence immediately

thereafter.

        IT IS SO ORDERED.

        DONE at McAllen, Texas, this 25th day of May 2022.


                                                     __________________________________
                                                                 Micaela Alvarez
                                                            United States District Judge




13
   Minute Entry (May 24, 2022).
14
   Dkt. No. 341.
15
   Dkt. Nos. 341-1,2.


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